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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 CONVERGEN ENERGY LLC, et al.,                           Civil Action No. 20-cv-3746 (LJL)
                                Plaintiffs,
                                                  RESPONSES TO PLAINTIFFS’ FIRST SET OF
                -v-                                INTERROGATORIES (AS AMENDED) TO
                                                  DEFENDANTS HANSEN, MIKKELSON AND
 STEVEN J. BROOKS, et al.,                            CONVERGEN ENERGY WI, LLC
                                Defendants.



       Defendants, Convergen Energy WI, LLC (hereinafter “CEW”), Theodore Hansen and

Brian Mikkelson (“Answering Defendants”), specially appearing by their counsel, Benjamin

LaFrombois and William Fischer of von Briesen & Roper, s.c., submit the following Responses to

Plaintiffs’ First Set of Interrogatories (as amended).

                                PRELIMINARY STATEMENT

       These discovery responses are made solely for the purpose of, and in relation to, this action.

The information supplied in these discovery responses may not be based solely upon the

knowledge of the executing individual, but may include knowledge from the corporate Defendant,

its agents, representatives and attorneys, unless privileged. The Defendants are engaged in a

continuing investigation regarding the matters inquired into by Plaintiffs’ discovery. Therefore,

the Defendants reserve the right to amend these responses if new or more accurate information

becomes available or if errors are discovered. Furthermore, these discovery responses are given

without prejudice to Defendants’ right to rely on subsequently discovered information or on

information inadvertently omitted from these discovery responses as a result of mistake, error or

oversight. To the extent the information contained herein differs in any material respect from any

prior discovery responses, these discovery responses shall be deemed to update and supersede such

prior responses to the extent the prior discovery responses may be inconsistent.


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                                   GENERAL OBJECTIONS

       1.      Discovery in this matter is ongoing, and information which may be responsive to

the Interrogatories may be within the possession, custody or control of other parties.

       2.      Answering Defendants object to each and every Interrogatory to the extent it seeks

the discovery and production of any information that falls outside of the Court’s May 19, 2020

Order allowing limited expedited discovery to address issue relevant to Plaintiffs’ application for

a preliminary injunction.

       3.      Answering Defendants object to each and every Interrogatory to the extent it seeks

the discovery and production of any information which involves privileged attorney/client

communications, privileged work product, or any other privileged or confidential information,

documents, materials and communications. Any inadvertent disclosure or production of privileged

or protected information shall not constitute a waiver of any such privilege or protection.

       4.      Answering Defendants object to the Interrogatories to the extent they seek

information not reasonably calculated to lead to the discovery of admissible evidence.

       5.      Answering Defendants object to the Interrogatories to the extent that they differ

from the Federal Rules of Civil Procedure and local rules of procedure of the United States District

Court for the Southern and Eastern Districts of New York. These responses are provided pursuant

to the Federal Rules of Civil Procedure and local rules of procedure of the United States District

Court for the Southern and Eastern Districts of New York.

       6.      Answering Defendants objects to the Interrogatories to the extent they require

unreasonable investigation by Answering Defendants, place unreasonable burden and expense on

Answering Defendants, are oppressive, overbroad, harassing or overly burdensome.




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       7.      Answering Defendants object to the Interrogatories as being unduly burdensome to

the extent that they are redundant and/or duplicative of other material or information already in

Plaintiffs’ possession, custody or control, or material or information over which Plaintiffs could

gain possession, custody or control at no greater expense or burden than CEW et al.

       8.      Answering Defendants object to the Interrogatories to the extent that they seek the

disclosure of information or the identification or production of materials that are confidential to

third parties not within CEW et al.’s control and to the extent the information requested is of a

confidential nature.

       9.      The production of materials or disclosure of information is not and shall not be

deemed a waiver of any objection Answering Defendants might have with respect to whether any

such materials or information are admissible at trial. By making production or by responding to

an Interrogatory, Answering Defendants do not concede that the material or information produced

is relevant in any way to the issues in this lawsuit.

       10.     All of these General Objections are incorporated in the following specific responses

and objections as if stated fully therein. To the extent specific objections are cited in response to

a specific Interrogatory, those specific citations are provided because they are believed to be

particularly applicable to the Interrogatory and are not to be construed as a waiver of any other

objection applicable to information and/or materials falling within the scope of the Interrogatory.

       11.     Answering Defendants are providing responses to Plaintiffs’ Interrogatories

without in any way waiving the right to object, on any ground, to use of the answers, responses,

and produced documents by Plaintiffs or any other party to this action. Answering Defendants

reserve the right at any time to revise, correct, supplement, clarify, or amend the answers,




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responses, and produced documents and reserves the right to object to any demand for further

discovery relating to the subject matter of the answers, responses and produced discovery.

                           RESPONSE TO INTERROGATORIES

       INTERROGATORY NO. 1:                   Identify any person that has received non-public

information about Plaintiffs or Convergen Energy WI, LLC (“CEW”) outside the ordinary course

of business prior to January 30, 2020, including information about a potential sale of CEW.

       RESPONSE TO INTERROGATORY NO. 1:                      Object to this Interrogatory on the

grounds that “non-public information” is vague and ambiguous, and that this interrogatory is not

reasonably calculated to lead to the discovery of admissible evidence relating to Plaintiffs’

application for preliminary injunction, and is therefore outside the bounds of permissible discovery

pursuant to the Court’s May 19, 2020 Order.

       Subject to the above objections and the General Objections and without waiving any

statements therein, persons whom Answering Defendants believe may have received non-public

information about Plaintiffs or Convergen Energy WI, LLC include any number of directors,

officers, managers, employees or agents of the Plaintiffs, Convergen Energy WI, LLC, Diane

Ewen (Controller, Americas – based in New York) and David Bates (Director, Group Accounting

– based in London), BMO Harris Bank N.A., or their lenders, vendors, owners, affiliates and

potential or actual business partners, including but not limited to George Logothetis, Nicholas

Logothetis, Bert Diaz, Adamantios Tomazos, Camilo Patrignani, Fidel Andueza, Phaedra

Chrousos, Nikolaos Baziotis, Neil Mortimer, Chris Watson, Emma Belchier, Kerry O’Toole,

Diane Ewen, David Bates, Aaron Weiss, Michael Todd Stolper, Dov Byron Gold, Aaron Nelson,

Ramon Uriarte Inchausti, Daniel Escandon Garcia, Steven J. Brooks, Gregory Merle, Theodore

Hansen, and Brian Mikkelsen.




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       INTERROGATORY NO. 2:                   Identify all persons who have or had the ability to

access the Office 365 Accounts and Domain Names as an administrator or with similar privileges

to view all emails and data.

       RESPONSE TO INTERROGATORY NO. 2:                       Objects to this Interrogatory insofar

as it is vague and ambiguous and unbounded as to time.

       Subject to the above objections and the General Objections, and without waiving any

statements therein, persons whom Answering Defendants are currently aware of who have or had

the ability to access the Office 365 Accounts and Domain Names as an administrator or with

similar privileges to view all emails and data are Brian R. Mikkelson and representatives of

Heartland Business Services and representatives of Marco Technology along with their

predecessors. Respecting the convergenenergy.com domain, Libra employees had administrative

access to the account housing convergenenergy.com.

       INTERROGATORY NO. 4:                   Identify anyone with a current or past financial

interest in CEW and any entities in the chain of ownership of CEW, including all current and past

members and officers of CEW and any entities in the chain of ownership.

       RESPONSE TO INTERROGATORY NO. 4:                       Objects to this Interrogatory on the

grounds that this interrogatory is not reasonably calculated to lead to the discovery of admissible

evidence relating to Plaintiffs’ application for preliminary injunction, and is therefore outside the

bounds of permissible discovery pursuant to the Court’s May 19, 2020 Order.

       Subject to the above objections and the General Objections, and without waiving any

statements therein, Convergen Energy WI, LLC, Ted Hansen and Brian Mikkelson state that

during the period of January 31, 2020 to the present the sole member of CEW is Nianticvista

Energy LLC; Nianticvista Energy LLC’s sole member is 4406 Cypress Lane LLC; 4406 Cypress




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Lane LLC’s sole member is Greg Merle. Based upon reasonable inquiry, Steve Brooks, Clark

Kent LLC, Ramon Escandon, and Daniel Inchausti, Chipper Investment SCR, SA, and Javier

Busto may have a financial interest in one or more of the foregoing entities.

       Prior to January 31, 2020, the ownership structure of CEW included, Convergen Energy

LLC (hereinafter “CE LLC”), which was owned by Convergen Energy, Inc, which was owned by

First North American Holdings II. The precise ownership of First North American Holdings II is

unknown to respondents. CE LLC was formerly Greenwood Fuels.

       Since January 31, 2020 to the date of this response, the officers of CEW are Ted Hansen

and Steve Brooks. Greg Merle is manager of CEW.

       Immediately prior to January 31, 2020, the officers of CE LLC were Fidel Andueza

(President), Bert Diaz (Secretary), and Steve Brooks (Vice President). Immediately prior to

January 31, 2020, the officers of CE Wisconsin LLC were Fidel Andueza and Bert Diaz.

       INTERROGATORY NO. 4A:                  Describe the current and historical financial

relationship of each of the defendants in this action in CEW and in any entities in the chain of

ownership of CEW.

       RESPONSE TO INTERROGATORY NO. 4A: Objects to this Interrogatory on the

grounds that this interrogatory is not reasonably calculated to lead to the discovery of admissible

evidence relating to Plaintiffs’ application for preliminary injunction, and is therefore outside the

bounds of permissible discovery pursuant to the Court’s May 19, 2020 Order, that the Interrogatory

does not identify a time frame, and the term “financial relationship” is vague.

       Subject to the above objections and the General Objections, and without waiving any

statements therein, Convergen Energy WI, LLC incorporates its answer to Interrogatory No. 4.




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       When CE LLC owned L’Anse Warden Electric Company the lenders involved at various

times were Riposte, Yellowstone, Clark Kent LLC, and Javier Busto. Respondent’s understanding

is that Riposte was comprised of friends and family of George Logothetis, Yellowstone was an

independent lender, Clark Kent LLC was affiliated to the family of Steve Brooks, and Javier Busto

was a friend of Fidel Andueza.

       With respect to the financial structure after the January 31, 2020 transaction it is

respondent’s understanding that Clark Kent LLC and Javier Busto continue to be lenders.

       Convergen Energy WI, LLC has notes evidencing debt to BMO Harris, Wisconsin

Economic Development Corporation, Toyota Corporation (forklift) and John Deere (loader).

Convergen Energy WI LLC has no notes or payables to the parties identified in Interrogatory No.

4. The membership interest in 4406 Cypress Lane, LLC is held solely by Greg Merle.

       Neither Ted Hansen nor Brian Mikkelson have a financial interest, other than their

employment, in CEW. Neither Ted Hansen nor Brian Mikkelson have a financial interest in

Nianticvista Energy LLC, 4406 Cypress Lane LLC, or in any of the parties with a financial interest

identified in Interrogatory No. 4.

       INTERROGATORY NO. 6:                   Describe the consideration Steven J. Brooks received

directly or indirectly for providing a personal guaranty of Convergen Energy WI, LLC’s Credit

Agreement of $2,375,000 to BMO Harris Bank N.A. dated January 31, 2020.

       RESPONSE TO INTERROGATORY NO. 6:                       Objects to this Interrogatory on the

grounds that this interrogatory is not reasonably calculated to lead to the discovery of admissible

evidence relating to Plaintiffs’ application for preliminary injunction, and is therefore outside the

bounds of permissible discovery pursuant to the Court’s May 19, 2020 Order.




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       Subject to the above objections and the General Objections, and without waiving any

statements therein, Convergen Energy WI, LLC states that, Convergen Energy WI LLC, Ted

Hansen, or Brian Mikkelson are not aware of consideration paid to or received by Steven J. Brooks

with respect to the Credit Agreement between Convergen Energy WI LLC and BMO Harris.



Dated this 24th day of June, 2020.           AS TO OBJECTIONS:
                                             von BRIESEN & ROPER, s.c.,

                                             s/Benjamin D. LaFrombois, Esq.
                                             Benjamin D. LaFrombois, Esq.
                                             WI State Bar No. 1027910
                                             William E. Fischer, Esq.
                                             WI State Bar No. 1045725
                                             Attorneys for Defendants, Theodore John Hansen,
                                             Brian R. Mikkelson and Convergen Energy WI,
                                             LLC
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                                  CERTIFICATE OF SERVICE

The undersigned certifies that a true and accurate copy of Response to Plaintiffs' First Set of
Interrogatories (as amended) to Hansen, Mikkelson and Convergen Energy WI, LLC was served via
email upon the following counsel of record on June 24, 2020:

Dov B. Gold
Seiden Law Group LLP
dgold@seidenlegal.com

Michael Stolper
Seiden Law Group LLC
mstolper@seidenlegal.com

Ryan Billings
Kohner, Mann & Kailas, S.C.
Rbillings@kmksc.com

                                                               s/Benjamin D LaFrombois, Esq.
                                                              von Briesen & Roper, s.c.




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                                         VERIFICATION

STATE OF WISCONSIN                   )
                                     )       ss.
OUTAGAMIE COUNTY                     )

       Theodore J. Hansen makes the following declaration under penalty of perjury:

       1.      I have read the foregoing Responses to Plaintiffs’ First Set of Interrogatories (as
amended) to Defendants Hansen, Mikkelson and Convergen Energy WI, LLC and know the
contents thereof.

       2.     I am the Chief Executive Officer of Defendant Convergen Energy WI, LLC, and
am authorized to verify the above Responses on behalf of the company.

        3.     The Responses were prepared with the assistance and advice of counsel, and based
in part upon information and verification obtained from others.

        4.     The answers set forth in the Responses, subject to inadvertent or undiscovered
errors, are based on and therefore necessarily limited by the records and information still in
existence, presently recollected and thus far discovered in the course of the preparation of such
answers.

       5.      Consequently, I reserve the right to make changes in such answers if it appears at
any time that omissions or errors have been made therein or that additional or more accurate
information is available.

      6.      Subject to the limitations set forth herein, such answers are true to the best of my
knowledge, information and belief.

      7.       My signature below is subscribed both on behalf of myself and Convergen Energy
WI, LLC.

      I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge.

       Dated this 24th day of June, 2020.
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